Case 6:12-cv-00855-RWS Document 903 Filed 07/22/20 Page 1 of 2 PageID #: 58946



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 VIRNETX INC., ET AL.,                          §
                                                §
                 Plaintiffs,                    § CIVIL ACTION NO. 6:12-CV-00855-RWS
                                                §
 v.                                             §
                                                §
 APPLE INC.,                                    §
                                                §
                 Defendant.                     §
                                                §
                                              ORDER

        Before the Court is Apple’s Opposed Motion to Conduct the Pretrial Conference Remotely

 for All Parties. Docket No. 886. VirnetX has filed a response in opposition. Docket No. 901.

        The Court in recent months has presided over numerous proceedings, both remote and in-

 person, including a week-long trial beginning June 22 that involved a jury panel of 60 citizens.

 Although in-person proceedings are always preferable and the Court has confidence in its ability

 to safely manage an in-person pretrial conference in this matter, Apple’s request is reasonable.

 Moreover, VirnetX strains to identify any potential prejudice resulting from a remote hearing, and

 its arguments are ultimately unconvincing.

        Accordingly, Apple’s motion is GRANTED. The pretrial conference will remain as

 scheduled on August 3, 2020. Consistent with the Court’s normal practice, only one attorney from

 each party will be permitted to argue each motion. Each party shall designate an information

 technology specialist for purposes of coordinating logistics with the Court’s information

 technology department. This designation, and accompanying contact information, should be

 provided by 5 p.m. CDT on Friday, July 24, 2020 to kain_day@txed.uscourts.gov. The parties

 are further instructed to provide the Court with any materials they intend to use during the pretrial
Case 6:12-cv-00855-RWS Document 903 Filed 07/22/20 Page 2 of 2 PageID #: 58947
    .



 conference, including any slides or other demonstratives, by 12 p.m. CDT on July 31, 2020. The

 parties are encouraged to limit their submitted materials as much as possible. Finally, to the extent

 feasible, the Court intends to make the pretrial conference publicly available and will provide

 further information regarding dial-in or log-in instructions in a notice filed on the docket.

 Provisions will be made to seal any confidential portion of the proceedings as may be necessary.


        So ORDERED and SIGNED this 22nd day of July, 2020.




                                                            ____________________________________
                                                            ROBERT W. SCHROEDER III
                                                            UNITED STATES DISTRICT JUDGE




                                                 Page 2 of 2
